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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
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  NSI INTERNATIONAL, INC.,

                                     Plaintiff,

                                                                                    ORDER
                     - against -
                                                                              CV 12-5528 (JFB) (AKT)
  MONA MUSTAFA,

                                     Defendant Pro Se.

  ------------------------------------------------------------------X
  A. KATHLEEN TOMLINSON, Magistrate Judge:

          The Court has received the May 10, 2016 letter motion by pro se Defendant Mona

  Mustafa requesting permission to video record the May 26, 2016 hearing in this matter. DE 117.

  There are no video recordings for court appearances in this District or in any other district for a

  standard hearing. In light of the fact that a court reporter will be present and taking down the

  record during the May 26, 2016 hearing, the Court finds there is no good-cause basis to grant

  Defendant’s request. Accordingly, Defendant’s motion is DENIED.

          Plaintiff’s counsel is directed to serve a copy of this Order on the pro se Defendant and to

  file proof of such service on ECF.



                                                                         SO ORDERED.
  Dated: Central Islip, New York
         May 12, 2016

                                                                         /s/ A. Kathleen Tomlinson
                                                                         A. KATHLEEN TOMLINSON
                                                                         U.S. Magistrate Judge
